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              UNITED STATES DISTRICT COURT
                                 District of Kansas
                                   (Topeka Docket)

UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                 CASE NO.: 22-40068-01/02-TC

HEATHER ANN THOMPSON and
JONATHAN LEE HUNT,

                    Defendants.




                         SEALED INDICTMENT

      THE GRAND JURY CHARGES:

                                    COUNT ONE
                     False Statement in the Acquisition of a Firearm
                                 [18 U.S.C. § 922(a)(6)]

      That on or about April 3, 2021, in the District of Kansas, the defendant,

                           HEATHER ANN THOMPSON,

in connection with the acquisition of two (2) firearms, namely, a Glock, Model G43, 9mm

caliber pistol, bearing Serial No. AFAR674, and a Taurus, Model G3, 9mm caliber pistol,

bearing Serial No. ACA404303, from GM Firearms and Gunsmithing, a licensed dealer of
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firearms within the meaning of Chapter 44, Title 18, United States Code, knowingly made

a false and fictitious written statement to GM Firearms and Gunsmithing, which statement

was intended and likely to deceive the dealer as to a fact material to the lawfulness of such

sale of the said firearms under Chapter 44 of Title 18, in that HEATHER ANN

THOMPSON falsely and fictitiously represented that she was the actual purchaser of the

firearms as reflected on ATF Form 4473, paragraph 21(a), when in fact HEATHER ANN

THOMPSON was acquiring the firearms on behalf of JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.

                                     COUNT TWO
                      False Statement in the Acquisition of a Firearm
                                  [18 U.S.C. § 922(a)(6)]

       That on or about April 12, 2021, in the District of Kansas, the defendant,

                            HEATHER ANN THOMPSON,

in connection with the acquisition of two (2) firearms, namely, a Taurus, Model TH-9,

9mm caliber pistol, bearing Serial No. TLY20178, and a Century Arms, Model Canik TP-

9DA, 9mm caliber pistol, bearing Serial No. T6472-21BJ02053, from GM Firearms and

Gunsmithing, a licensed dealer of firearms within the meaning of Chapter 44, Title 18,

United States Code, knowingly made a false and fictitious written statement to GM

Firearms and Gunsmithing, which statement was intended and likely to deceive the dealer

as to a fact material to the lawfulness of such sale of the said firearms under Chapter 44 of

Title 18, in that HEATHER ANN THOMPSON falsely and fictitiously represented that


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she was the actual purchaser of the firearms as reflected on ATF Form 4473, paragraph

21(a), when in fact HEATHER ANN THOMPSON was acquiring the firearms on behalf

of JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.

                                    COUNT THREE
                      False Statement in the Acquisition of a Firearm
                                  [18 U.S.C. § 922(a)(6)]

       That on or about April 30, 2021, in the District of Kansas, the defendant,

                            HEATHER ANN THOMPSON,

in connection with the acquisition of a firearm, namely, a Taurus, Model G3, 9mm pistol,

bearing Serial No. ACA396165, from GM Firearms and Gunsmithing, a licensed dealer of

firearms within the meaning of Chapter 44, Title 18, United States Code, knowingly made

a false and fictitious written statement to GM Firearms and Gunsmithing, which statement

was intended and likely to deceive the dealer as to a fact material to the lawfulness of such

sale of the said firearm under Chapter 44 of Title 18, in that HEATHER ANN

THOMPSON falsely and fictitiously represented that she was the actual purchaser of the

firearm as reflected on ATF Form 4473, paragraph 21(a), when in fact HEATHER ANN

THOMPSON was acquiring the firearms on behalf of JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

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                                   COUNT FOUR
                     False Statement in the Acquisition of a Firearm
                                 [18 U.S.C. § 922(a)(6)]

      That on or about May 1, 2021, in the District of Kansas, the defendant,

                           HEATHER ANN THOMPSON,

in connection with the acquisition of two (2) firearms, namely, a Glock, Model G19, 9mm

caliber pistol, bearing Serial No. BNYS644, and a Sig Sauer, Model P-365, 9mm caliber

pistol, bearing Serial No. 66B482647, from GM Firearms and Gunsmithing, a licensed

dealer of firearms within the meaning of Chapter 44, Title 18, United States Code,

knowingly made a false and fictitious written statement to GM Firearms and Gunsmithing,

which statement was intended and likely to deceive the dealer as to a fact material to the

lawfulness of such sale of the said firearms under Chapter 44 of Title 18, in that

HEATHER ANN THOMPSON falsely and fictitiously represented that she was the

actual purchaser of the firearms as reflected on ATF Form 4473, paragraph 21(a), when in

fact HEATHER ANN THOMPSON was acquiring the firearms on behalf of

JONATHAN LEE HUNT.

      All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                    COUNT FIVE
                     False Statement in the Acquisition of a Firearm
                                 [18 U.S.C. § 922(a)(6)]

      That on or about July 1, 2021, in the District of Kansas, the defendant,

                           HEATHER ANN THOMPSON,

in connection with the acquisition of a firearm, namely, a Ruger, Model Security 9, 9mm

pistol, bearing Serial No. 382-44358, from GM Firearms and Gunsmithing, a licensed

dealer of firearms within the meaning of Chapter 44, Title 18, United States Code,

knowingly made a false and fictitious written statement to GM Firearms and Gunsmithing,

which statement was intended and likely to deceive the dealer as to a fact material to the

lawfulness of such sale of the said firearm under Chapter 44 of Title 18, in that HEATHER

ANN THOMPSON falsely and fictitiously represented that she was the actual purchaser

of the firearm as reflected on ATF Form 4473, paragraph 21(a), when in fact HEATHER

ANN THOMPSON was acquiring the firearms on behalf of JONATHAN LEE HUNT.

      All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                     COUNT SIX
                     False Statement in the Acquisition of a Firearm
                                 [18 U.S.C. § 922(a)(6)]

      That on or about July 31, 2021, in the District of Kansas, the defendant,

                           HEATHER ANN THOMPSON,

in connection with the acquisition of a firearm, namely, a SCCY, Model CPX-2, 9mm

caliber pistol, bearing Serial No. C196221, from GM Firearms and Gunsmithing, a licensed

dealer of firearms within the meaning of Chapter 44, Title 18, United States Code,

knowingly made a false and fictitious written statement to GM Firearms and Gunsmithing,

which statement was intended and likely to deceive the dealer as to a fact material to the

lawfulness of such sale of the said firearm under Chapter 44 of Title 18, in that HEATHER

ANN THOMPSON falsely and fictitiously represented that she was the actual purchaser

of the firearm as reflected on ATF Form 4473, paragraph 21(a), when in fact HEATHER

ANN THOMPSON was acquiring the firearms on behalf of JONATHAN LEE HUNT.

      All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                   COUNT SEVEN
                     False Statement in the Acquisition of a Firearm
                                 [18 U.S.C. § 922(a)(6)]

      That on or about October 1, 2021, in the District of Kansas, the defendant,

                           HEATHER ANN THOMPSON,

in connection with the acquisition of two (2) firearms, namely, a Ruger, Model LC9-S,

9mm caliber pistol, bearing Serial No. 328-10797, and a Bersa, Model Thunder 380, .380

caliber pistol, bearing Serial No. K21975, from GM Firearms and Gunsmithing, a licensed

dealer of firearms within the meaning of Chapter 44, Title 18, United States Code,

knowingly made a false and fictitious written statement to GM Firearms and Gunsmithing,

which statement was intended and likely to deceive the dealer as to a fact material to the

lawfulness of such sale of the said firearms under Chapter 44 of Title 18, in that

HEATHER ANN THOMPSON falsely and fictitiously represented that she was the

actual purchaser of the firearms as reflected on ATF Form 4473, paragraph 21(a), when in

fact HEATHER ANN THOMPSON was acquiring the firearms on behalf of

JONATHAN LEE HUNT.

      All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                    COUNT EIGHT
                      False Statement in the Acquisition of a Firearm
                                  [18 U.S.C. § 922(a)(6)]

       That on or about November 24, 2020, in the District of Kansas, the defendant,

                            HEATHER ANN THOMPSON,

in connection with the acquisition of a firearm, namely, a SAR USA, Model SAR-9, 9mm

caliber pistol, bearing Serial No. T1102-20BV51088, from GM Firearms and Gunsmithing,

a licensed dealer of firearms within the meaning of Chapter 44, Title 18, United States

Code, knowingly made a false and fictitious written statement to GM Firearms and

Gunsmithing, which statement was intended and likely to deceive the dealer as to a fact

material to the lawfulness of such sale of the said firearm under Chapter 44 of Title 18, in

that HEATHER ANN THOMPSON falsely and fictitiously represented that she was the

actual purchaser of the firearm as reflected on ATF Form 4473, paragraph 21(a), when in

fact HEATHER ANN THOMPSON was acquiring the firearms on behalf of

JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                      COUNT NINE
         Aiding and Abetting a False Statement in the Acquisition of a Firearm
                            [18 U.S.C. §§ 922(a)(6) and 2]

       That on or about April 3, 2021, in the District of Kansas, the defendant,

                                JONATHAN LEE HUNT,

in connection with the acquisition of two (2) firearms, namely, a Glock, Model G43, 9mm

caliber pistol, bearing Serial No. AFAR674, and a Taurus, Model G3, 9mm caliber pistol,

bearing Serial No. ACA404303, from GM Firearms and Gunsmithing, a licensed dealer of

firearms within the meaning of Chapter 44, Title 18, United States Code, aided, abetted,

counseled, commanded, and induced the knowing false and fictitious written statement to

GM Firearms and Gunsmithing, which statement was intended and likely to deceive the

dealer as to a fact material to the lawfulness of such sale of the said firearms under Chapter

44 of Title 18, in that JONATHAN LEE HUNT aided, abetted, counseled, commanded,

and induced HEATHER ANN THOMPSON to falsely and fictitiously represent that she

was the actual purchaser of the firearms, as reflected on ATF Form 4473, paragraph 21(a),

when in fact HEATHER ANN THOMPSON was acquiring the firearms on behalf of

JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                      COUNT TEN
          Aiding and Abetting a False Statement in the Acquisition of a Firearm
                             [18 U.S.C. §§ 922(a)(6) and 2]

       That on or about April 12, 2021, in the District of Kansas, namely, the defendant,

                                JONATHAN LEE HUNT,

in connection with the acquisition of two (2) firearms, namely, a Taurus, Model TH-9,

9mm caliber pistol, bearing Serial No. TLY20178, and a Century Arms, Model Canik TP-

9DA, 9mm caliber pistol, bearing Serial No. T6472-21BJ02053, from GM Firearms and

Gunsmithing, a licensed dealer of firearms within the meaning of Chapter 44, Title 18,

United States Code, aided, abetted, counseled, commanded, and induced the knowing false

and fictitious written statement to GM Firearms and Gunsmithing, which statement was

intended and likely to deceive the dealer as to a fact material to the lawfulness of such sale

of the said firearms under Chapter 44 of Title 18, in that JONATHAN LEE HUNT aided,

abetted, counseled, commanded, and induced HEATHER ANN THOMPSON to falsely

and fictitiously represent that she was the actual purchaser of the firearms, as reflected on

ATF Form 4473, paragraph 21(a), when in fact HEATHER ANN THOMPSON was

acquiring the firearms on behalf of JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                   COUNT ELEVEN
          Aiding and Abetting a False Statement in the Acquisition of a Firearm
                             [18 U.S.C. §§ 922(a)(6) and 2]

       That on or about April 30, 2021, in the District of Kansas, namely, the defendant,

                               JONATHAN LEE HUNT,

in connection with the acquisition of a firearm, namely, a Taurus, Model G3, 9mm pistol,

bearing Serial No. ACA396165, from GM Firearms and Gunsmithing, a licensed dealer of

firearms within the meaning of Chapter 44, Title 18, United States Code, aided, abetted,

counseled, commanded, and induced the knowing false and fictitious written statement to

GM Firearms and Gunsmithing, which statement was intended and likely to deceive the

dealer as to a fact material to the lawfulness of such sale of the said firearm under Chapter

44 of Title 18, in that JONATHAN LEE HUNT aided, abetted, counseled, commanded,

and induced HEATHER ANN THOMPSON to falsely and fictitiously represent that she

was the actual purchaser of the firearm, as reflected on ATF Form 4473, paragraph 21(a),

when in fact HEATHER ANN THOMPSON was acquiring the firearm on behalf of

JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                  COUNT TWELVE
          Aiding and Abetting a False Statement in the Acquisition of a Firearm
                             [18 U.S.C. §§ 922(a)(6) and 2]

       That on or about May 1, 2021, in the District of Kansas, namely, the defendant,

                               JONATHAN LEE HUNT,

in connection with the acquisition of two (2) firearms, namely, a Glock, Model G19, 9mm

caliber pistol, bearing Serial No. BNYS644, and a Sig Sauer, Model P-365, 9mm caliber

pistol, bearing Serial No. 66B482647, from GM Firearms and Gunsmithing, a licensed

dealer of firearms within the meaning of Chapter 44, Title 18, United States Code, aided,

abetted, counseled, commanded, and induced the knowing false and fictitious written

statement to GM Firearms and Gunsmithing, which statement was intended and likely to

deceive the dealer as to a fact material to the lawfulness of such sale of the said firearms

under Chapter 44 of Title 18, in that JONATHAN LEE HUNT aided, abetted, counseled,

commanded, and induced HEATHER ANN THOMPSON to falsely and fictitiously

represent that she was the actual purchaser of the firearms, as reflected on ATF Form 4473,

paragraph 21(a), when in fact HEATHER ANN THOMPSON was acquiring the firearms

on behalf of JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                 COUNT THIRTEEN
          Aiding and Abetting a False Statement in the Acquisition of a Firearm
                             [18 U.S.C. §§ 922(a)(6) and 2]

       That on or about July 1, 2021, in the District of Kansas, namely, the defendant,

                               JONATHAN LEE HUNT,

in connection with the acquisition of a firearm, namely, a Ruger, Model Security 9, 9mm

pistol, bearing Serial No. 382-44358, from GM Firearms and Gunsmithing, a licensed

dealer of firearms within the meaning of Chapter 44, Title 18, United States Code, aided,

abetted, counseled, commanded, and induced the knowing false and fictitious written

statement to GM Firearms and Gunsmithing, which statement was intended and likely to

deceive the dealer as to a fact material to the lawfulness of such sale of the said firearm

under Chapter 44 of Title 18, in that JONATHAN LEE HUNT aided, abetted, counseled,

commanded, and induced HEATHER ANN THOMPSON to falsely and fictitiously

represent that she was the actual purchaser of the firearm, as reflected on ATF Form 4473,

paragraph 21(a), when in fact HEATHER ANN THOMPSON was acquiring the firearm

on behalf of JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                COUNT FOURTEEN
          Aiding and Abetting a False Statement in the Acquisition of a Firearm
                             [18 U.S.C. §§ 922(a)(6) and 2]

       That on or about July 31, 2021, in the District of Kansas, namely, the defendant,

                               JONATHAN LEE HUNT,

in connection with the acquisition of a firearm, namely, a SCCY, Model CPX-2, 9mm

caliber pistol, bearing Serial No. C196221, from GM Firearms and Gunsmithing, a licensed

dealer of firearms within the meaning of Chapter 44, Title 18, United States Code, aided,

abetted, counseled, commanded, and induced the knowing false and fictitious written

statement to GM Firearms and Gunsmithing, which statement was intended and likely to

deceive the dealer as to a fact material to the lawfulness of such sale of the said firearm

under Chapter 44 of Title 18, in that JONATHAN LEE HUNT aided, abetted, counseled,

commanded, and induced HEATHER ANN THOMPSON to falsely and fictitiously

represent that she was the actual purchaser of the firearm, as reflected on ATF Form 4473,

paragraph 21(a), when in fact HEATHER ANN THOMPSON was acquiring the firearm

on behalf of JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                  COUNT FIFTEEN
          Aiding and Abetting a False Statement in the Acquisition of a Firearm
                             [18 U.S.C. §§ 922(a)(6) and 2]

       That on or about October 1, 2021, in the District of Kansas, the defendant,

                               JONATHAN LEE HUNT,

in connection with the acquisition of two (2) firearms, namely, a Ruger, Model LC9-S,

9mm caliber pistol, bearing Serial No. 328-10797, and a Bersa, Model Thunder 380, .380

caliber pistol, bearing Serial No. K21975, from GM Firearms and Gunsmithing, a licensed

dealer of firearms within the meaning of Chapter 44, Title 18, United States Code, aided,

abetted, counseled, commanded, and induced the knowing false and fictitious written

statement to GM Firearms and Gunsmithing, which statement was intended and likely to

deceive the dealer as to a fact material to the lawfulness of such sale of the said firearms

under Chapter 44 of Title 18, in that JONATHAN LEE HUNT aided, abetted, counseled,

commanded, and induced HEATHER ANN THOMPSON to falsely and fictitiously

represent that she was the actual purchaser of the firearms, as reflected on ATF Form 4473,

paragraph 21(a), when in fact HEATHER ANN THOMPSON was acquiring the firearms

on behalf of JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                   COUNT SIXTEEN
          Aiding and Abetting a False Statement in the Acquisition of a Firearm
                             [18 U.S.C. §§ 922(a)(6) and 2]

       That on or about November 24, 2020, in the District of Kansas, the defendant,

                               JONATHAN LEE HUNT,

in connection with the acquisition of a firearm, namely, a SAR USA, Model SAR-9, 9mm

caliber pistol, bearing Serial No. T1102-20BV51088, from GM Firearms and Gunsmithing,

a licensed dealer of firearms within the meaning of Chapter 44, Title 18, United States

Code, aided, abetted, counseled, commanded, and induced the knowing false and fictitious

written statement to GM Firearms and Gunsmithing, which statement was intended and

likely to deceive the dealer as to a fact material to the lawfulness of such sale of the said

firearm under Chapter 44 of Title 18, in that JONATHAN LEE HUNT aided, abetted,

counseled, commanded, and induced HEATHER ANN THOMPSON to falsely and

fictitiously represent that she was the actual purchaser of the firearm, as reflected on ATF

Form 4473, paragraph 21(a), when in fact HEATHER ANN THOMPSON was acquiring

the firearm on behalf of JONATHAN LEE HUNT.

       All in violation of Title 18, United States Code, Sections 922(a)(6), 924(a)(2) and

2.




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                                                  A TRUE BILL.


   October 12, 2022                                 s/Foreperson
     DATE                                    FOREPERSON OF THE GRAND JURY

DUSTON J. SLINKARD
UNITED STATES ATTORNEY


By: /s/    Jared S. Maag
          JARED S. MAAG
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          District of Kansas
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          Ks. S. Ct. No. 17222




              IT IS REQUESTED THAT THE TRIAL BE HELD IN TOPEKA, KANSAS




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                             PENALTIES

                          Counts One - Sixteen

●      A term of imprisonment not to exceed ten (10) years.
       18 U.S.C. § 924(a)(2).

●      A fine not to exceed $250,000.00
       18 U.S.C. § 3571(b)(3).

●      A term of supervised release not to exceed three (3) years.
       18 U.S.C. § 3583(b)(2).

●      A mandatory special assessment of $100.00 per count of conviction.
       18 U.S.C. § 3013(a)(2)(A).




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